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AO 472 (Rev. 11/16), modified by NED (9/17)



                                        UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                   v.                                                                  Case No. 8:17MJ434

JONATHAN RAMONE FRANKLIN,                                              ORDER OF DETENTION PENDING TRIAL
                              Defendant


                                                  Part I - Eligibility for Detention

        Upon the
              ☒ Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1),


               ☒ Defendant waived a detention hearing at this time and the court found that detention is warranted.

      This order sets forth the Court’s findings of fact and conclusions of law, as required by 18 U.S.C. § 3142(i), in
addition to any other findings made at the hearing.
                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)
   ☒ B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
     rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
     defendant as required and the safety of the community because there is probable cause to believe that the defendant
     committed one or more of the following offenses:
         ☒ (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;

   ☒ C. Conclusions Regarding Applicability of Any Presumption Established Above

            ☒ The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
              ordered on that basis. (Part III need not be completed.)

                                  Part III - Analysis and Statement of the Reasons for Detention


                                              Part IV - Directions Regarding Detention
The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation
with defense counsel. On order of a court of the United States or on request of an attorney for the Government, the
person in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an
appearance in connection with a court proceeding.

Date:                  12/1/2017                                                 s/ Susan M. Bazis
                                                                             United States Magistrate Judge




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